              Case 8:13-cv-01592-AEP Document 4 Filed 06/19/13 Page 1 of 1 PageID 32
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      Middle District
                                                  __________ DistrictofofFlorida
                                                                          __________


               CIN-Q AUTOMOBILES, INC.                            )
                             Plaintiff                            )
                                v.                                )      Case No.    8:13-cv-01592-EAK-AEP
Buccaneers Limited Partnership and John Does 1 - 1                )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff, CIN-Q AUTOMOBILES, INC.                                                                                  .


Date:          06/19/2013                                                                   s/ Ryan M. Kelly
                                                                                            Attorney’s signature


                                                                                    Ryan M. Kelly Fl. Bar No. 90110
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